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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL. * Civil Action No.
* No. 12-00859
VERSUS *
* HON. LANCE M. AFRICK
MARLIN GUSMAN, ET AL. * SECTION: I
*
* MAG. MICHAEL B. NORTH
* SECTION: 5
ee RRR A RRR Rk A KE AK RR RK KR RK OK KR KE

 

DECLARATION OF LaNITRAH B. HASAN

 

1. My name is LaNitrah B. Hasan, and I am of sound mind, over the age of eighteen,
competent to make this declaration, and have knowledge of the use of Templeman II FEMA
funding.

2. I have been employed by the City of New Orleans since 2011 and currently serve
as Federal Grants Manager.

3. As Federal Grants Manager, I oversee FEMA reimbursements, closeout, financial
reconciliations of grant expenses, grant requests for newly declared disaster events, time
extension requests, and amendment requests for current grants.

4, The Temporary Detention Center (“TDC”) is a facility located on the grounds of
the Orleans Justice Center, which is currently being renovated by the City to accommodate the
Orleans Parish Sheriff’s Office (“OPSO”) medical and mental health populations.

5. I reviewed the Project Worksheets related Templeman II Funding, Alternatives to
the Phase 3 Facility Program, and legal filings provided by the City’s Attorney’s office in
making this declaration.

6. The City has allocated $30 million towards the design and construction of the
Phase III new jail building to house inmates with medical and mental health needs. There is an
additional $6,048,227.83 reserved for expected project management costs associated with this
project.

 

Exhibit
M

 

 

 
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7. These numbers derive from the Conceptual Parameter Estimate of Construction
Costs-——developed in 2017—for the OPSO Phase III Facility and an estimated design and
construction timeline.

8. The Conceptual Parameter Estimate of Costs is based on the concept design for a
Phase III building for the Orleans Parish Justice Center (“OJC”) as prepared by Grace Herbert
Architects. The building functional spaces and layout were conceptual and subject to refinement
as more information becomes available through the formal design process. This conceptual
document was used by the City to determine its funding allocation with FEMA under the
Criminal Justice and Public Safety Alternate Projects.

9, The Criminal Justice and Public Safety Alternate Projects are approved through
the Disaster Assistance and Continuing Appropriations Act of 2009 (Public Law 110-329) and
provides the City with the flexibility to avoid funding limitations pertaining to fire, police, and
criminal justice facilities that were damaged by Hurricanes Katrina and Rita. It allows FEMA to
fund Alternate Projects at 100% of the estimated eligible costs, waiving the statutory 25%
reduction for alternate projects, and enabling the City to maximize FEMA funding.

10. The City has reviewed alternate options to the Phase III facility.

li. Option 1 retains TDC as a long-term facility for acute males and acute/sub-acute
females and renovates OJC Pod 2C to accommodate the sub-acute males currently in OJC Pod
2A. In this option, the current renovated TDC will be used indefinitely.

12. Option | will require the City to purchase TDC from FEMA. The City has made
similar purchases previously.

13. Option 2 renovates TDC buildings 3 and 4 to accommodate the 33 OJC sub-acute
males currently in OJC Pod 2A. In this option, the City would renovate buildings 3 and 4 in an
identical manner to Building 2 to mimic the requirements for male patients. These units would
house the 33 male sub-acute patients now housed in OJC Pod 2A. Like the Phase III facility,
TDC buildings 3 and 4 will house all male and female, acute and sub-acute, patients in a single
facility.

I4. Option 2 wili require the City to purchase TDC from FEMA. The City has made
similar purchases previously.

15. Finally, Option 3 renovates OJC Pods 2A, 2C, and 2D, and will close TDC once
complete. The overall goal of this option is to concentrate the location of all acute, sub-acute,
and step-down inmates—male and female—on the 2™ floor of the OJC, for more efficiency in
staffing and costs.
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16. In Option 2, Pods 2A, 2C, and 2D are all renovated at an estimated cost of $3
million per Pod or a total project cost of approximately $9 million. There is no requirement to
buy the TDC facility from FEMA. This option would place all medical and mental health
inmates on the OJC 2" floor with the medical clinic, thus allowing efficient access and treatment
for inmate medical and mental health needs.

17. The City is not in possession of documentation demonstrating how Mr. Gaffney
determined there is an additional $4 million in FEMA funds available for the Phase III new jail
building if the City enters into a cooperative endeavor agreement with OPSO. This position
cannot be verified without the production of formal, written approval from FEMA.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the preceding is true and
correct.

Executed on August 12, 2020.

 

 
